        Case 4:12-cr-00263-JLH            Document 41      Filed 11/01/12       Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:12CR00263-01 JLH

RAMI HASAN a/k/a RAMI SAAB                                                            DEFENDANT

                                     OPINION AND ORDER

       Rami Hasan has been indicted in a five count indictment. Count 1 charges Hasan and two

other defendants with conspiring to distribute more than 100 grams of pseudoephedrine knowing that

it would be used to manufacture methamphetamine in violation of 21 U.S.C. § 841 and 21 U.S.C. §

846. Count 2 charges Hasan with using a communication facility, a telephone, in facilitating a felony

under 21 U.S.C. § 841 in violation of 21 U.S.C. § 843(b). Count 3 charges Hasan and one other

person with possessing more than 40 grams of pseudoephedrine while having reasonable cause to

believe that it would be used to manufacture methamphetamine in violation of 21 U.S.C. § 841(c) and

2. Count 4 charges Hasan with possessing a firearm after having been convicted of a felony in

violation of 18 U.S.C. § 922(g)(1). Count 5 charges Hasan with possessing ammunition after having

been convicted of a felony in violation of 18 U.S.C. § 922(g)(1).

       Hasan previously had two detention hearings before United States Magistrate Judge

J. Thomas Ray. Judge Ray ordered that Hasan be detained pending trial after concluding that there

was no condition or set of conditions that would reasonably assure Hasan’s appearance. Hasan has

filed a motion to set aside that order.

       The Bail Reform Act of 1984 provides that if a person is ordered detained by a magistrate

judge, that person may file with the district court a motion for revocation or amendment of the order.
        Case 4:12-cr-00263-JLH           Document 41         Filed 11/01/12       Page 2 of 8




21 U.S.C. § 3145(b). Review by the district court is de novo. United States v. Maull, 773 F.2d

1479, 1482 (8th Cir. 1985).

        Here, the Court conducted a hearing after Hasan filed his motion, and, at the hearing,

informed the parties that the Court would allow the parties to present the evidence anew, as though

this were the first hearing; or, if the parties preferred, the Court would consider the transcript of the

hearings before Judge Ray. The parties agreed that the Court should review the transcripts of the

hearings before Judge Ray and consider any new evidence that the parties wished to present. The

Court has now reviewed the transcripts of the hearings before Judge Ray and has considered the

additional evidence offered by the parties,1 as well as the additional arguments offered by the parties,

at the hearing before this Court.

        The Bail Reform Act provides that the Court must determine whether any condition or

combination of conditions stated in the statute will reasonably assure the appearance of the defendant

and the safety of any other person in the community. 18 U.S.C. § 3142(f). The Eighth Circuit has

explained:

        Consistent with the intent expressed in the legislative history, the statutory scheme of
        18 U.S.C. § 3142 continues to favor release over pretrial detention. Section 3142
        provides four alternatives from which the judicial officer must choose: (1) release on
        personal recognizance or unsecured appearance bond, or (2) release subject to certain


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          Judge Ray conducted hearings on September 17, 2012, and October 4, 2012. At the
October 4 hearing, the government introduced as Government’s Exhibit 1 transcripts of telephone
calls made by Hasan while detained in the Craighead County Detention Center after his arrest on the
instant charges. At the hearing on October 29, the government introduced Hasan’s parole file as
Government’s Exhibit 1 and a list of Hasan’s trips out of the country from September 19, 2009, until
June 16, 2012, as Government’s Exhibit 2. Hasan introduced a certificate of marriage registration
as Defendant’s Exhibit 1 and an ultrasound image as Exhibit 2. The Court has reviewed all of the
exhibits, as well as the transcripts of both hearings before Judge Ray. The Court has also reviewed
the pretrial services report prepared by pretrial services officer James Jordan Buescher on
September 10, 2012.

                                                   2
        Case 4:12-cr-00263-JLH          Document 41         Filed 11/01/12       Page 3 of 8




       conditions, or (3) temporary detention to permit, among other things, revocation of
       conditional release, or (4) pretrial detention. The judicial officer most often will be
       deciding between the first and the second alternatives. The statutorily mandated
       progression from one choice to the next is critical: a judicial officer cannot determine
       that a detention hearing and the possible imposition of pretrial detention is appropriate
       merely by determining that release on personal recognizance will not “reasonable
       assure” the defendant’s appearance at trial or “will endanger” the community. The
       judicial officer must also consider whether one of the codified conditions or any
       combination of the conditions will “reasonably assure” the defendant’s appearance
       and the safety of the community. The wide range of restrictions available ensures, as
       Congress intended, that very few defendants will be subject to pretrial detention.

United States v. Orta, 760 F.2d 887, 890 (8th Cir. 1985) (footnotes omitted). The statute does not

require that the release conditions guarantee community safety and the defendant’s appearance;

instead, they require only that the community safety and the defendant’s appearance be reasonably

assured. Id. at 891.

       Only if the government shows by clear and convincing evidence that no release
       condition or set of conditions will reasonably assure the safety of the community and
       by a preponderance of the evidence that no condition or set of conditions under
       subsection (c) will reasonably assure the defendant’s appearance can a defendant be
       detained before trial.

Id. (footnotes omitted) (emphasis in the original).

       The relevant factors to be considered include the nature and circumstances of the offense

charged; and the history and characteristics of the defendant, including his character, physical and

mental condition, family ties, employment, financial resources, length of residence in the community,

community ties, past conduct, criminal history, and record concerning appearance at court

proceedings. 18 U.S.C. § 3142(g).

       Hasan is a naturalized American citizen. He was born in Kuwait in 1979. He moved with his

family to the United States in 1990. It appears that he lived in the New York City area until he

moved to Jonesboro, Arkansas, in 2010. He was convicted for several crimes in the New York City


                                                  3
        Case 4:12-cr-00263-JLH           Document 41        Filed 11/01/12      Page 4 of 8




area, including attempted forgery and possession of a forged instrument in 2000 or 2001, for which

he was sentenced to probation. On January 11, 2002, a warrant was issued for his arrest for alleged

probation violations. Hasan then fled the country. According to a report in the parole file, Hasan left

the United States and traveled in several foreign countries in Asia, Europe, and South America,

before he was apprehended in Colombia and turned over to federal authorities for return to the United

States in May 2003.

       Hasan was indicted in New York on a multiple-count indictment charging enterprise

corruption and other crimes of dishonesty. In March of 2004, he entered a plea of guilty to the

charge of enterprise corruption and a charge of bail jumping-second degree. On April 1, 2004, he

was sentenced to a period of four to eight years incarceration on the enterprise corruption conviction

and one and one-half to three years on the bail jumping conviction. While serving the prison

sentence, Hasan was convicted of promoting contraband and sentenced to eighty-nine days. He was

released on parole on August 8, 2008, and reached his maximum supervision date on April 8, 2011.

While on parole in New York, he was charged with violating the terms of his parole by, among other

things, traveling outside the area to which he was limited without permission from his parole officer.

A case summary in the parole file says, “On 9-10-09 subject was found to be in possession of 8

credit/debit cards contrary to Board imposed condition not to act in a fiduciary capacity; not to have

. . . checking, savings, debit, or credit accounts without parole officer permission. He was also found

in possession of an Arkansas driver’s license obtained without permission or knowledge while on

travel permit.”

       On December 30, 2009, Hasan applied for a transfer of his supervision to Arkansas. That

application was granted in the spring of 2010. Hasan completed his parole on April 11, 2011.


                                                  4
        Case 4:12-cr-00263-JLH           Document 41         Filed 11/01/12      Page 5 of 8




        Until his arrest in this case, Hasan continued to travel extensively in foreign countries.

Government’s Exhibit 2 reflects that between September 19, 2009, and August 31, 2012, Hasan

traveled outside the United States on nine occasions.

        Hasan is married to Andrea Carolina Gonzalez, a native of Colombia, with whom he has a

child. Hasan introduced into evidence as Defendant’s Exhibit D-1 a certificate of marriage

registration in New York reflecting that he and Gonzalez were married on April 9, 2005. When

Hasan jumped bail in 2002-03, he traveled to Colombia, where Gonzalez was living. Gonzalez and

Hasan’s child presently live in Jordan. Hasan’s mother, Aysha Hasan, who is a co-defendant, is also

in Jordan.

        The New York certificate of marriage registration reflects that Hasan was married under the

name of Rami Hasan Saab. The evidence established that Hasan has obtained identification in the

name of Rami Hasan Saab and has traveled under that name.

        For the past year or year and a half, Hasan has cohabited with Rosa Santana, a co-defendant

in this case, who is pregnant with Hasan’s child. At the hearing on September 17, 2012, Hasan’s

lawyer described the relationship between Hasan and Santana as follows: “Ms. Santana is

Mr. Hasan’s wife for at least with respect to the religion that they practice. They have not got a legal

marriage certificate at this point.”

        Hasan and his brother, Mustafa, own a business in Jonesboro, Arkansas, known as the

Downtown Express Mart. The only employment that Hasan mentioned when he was interviewed by

the pretrial services officer was his employment at the Downtown Express Mart, and he reported his

income as $1,600 per month. That income obviously is insufficient to support the extensive foreign

travel in which Hasan has engaged. At the hearing on September 17, 2012, Mustafa testified that


                                                   5
           Case 4:12-cr-00263-JLH          Document 41        Filed 11/01/12      Page 6 of 8




Hasan has a children’s clothing business and that he owns two clothing stores in Jordan, where he has

a business partner. According to Mustafa, Hasan travels abroad to purchase clothes for the stores

in Jordan, and he also purchases clothes in the United States. When Hasan’s residence in Jonesboro

was searched in connection with the investigation that resulted in the instant charges, several boxes

of clothes that had been shipped to that residence were found.

           At the hearing on October 29, 2012, an FBI agent testified that, during the execution of a

search warrant in one of the earlier investigations, New York law enforcement officers found that

Hasan had several drivers licenses in names other than his own but with his picture. The parole file

contains the following description of the offense conduct regarding Hasan’s 2004 convictions:

           The instant offenses involve attempted enterprise corruption and bail jumping. The
           defendant, acting in concert with apprehended others, defrauded several blue-chip
           computer companies out of computer equipment and other goods valued at more than
           two millions dollars. He acted as part of a ring that used false identities and
           corporations to obtain bank accounts, credit and funds, so the organization could
           lease and obtain computers as well as other goods and services for personal financial
           gain. The defendant admitted to committing the offense for monetary reasons. The
           defendant also admits to bail jumping, since he was scared of getting caught and he
           fled the country. The defendant was on probation when he committed the instant
           offenses. . . . His other arrests involve forgery and weapon possession.

Government’s Exhibit 1 (10-29-12). The parole file also includes a description of the offense conduct

that gave rise to Hasan’s forgery conviction. According to the description in the file, Hasan

attempted to purchase clothing using a credit card in the name of Ali Mouri. The card was fraudulent

and belonged to a person other than Ali Mouri. Hasan signed the name of Ali Mouri on the sales

receipt.

           The Court has considered the nature and circumstances the offense charged here, as well as

Hasan’s history and characteristics, including his character, family ties, employment, financial

resources, length of residence in the community, community ties, past conduct, his history, and record

                                                    6
        Case 4:12-cr-00263-JLH           Document 41         Filed 11/01/12       Page 7 of 8




concerning appearance at court proceedings. As noted, Hasan has a significant history of dishonesty,

including the use of false identification. He has some family and community ties in Jonesboro,

Arkansas, but those ties are fairly recent and appear to be not nearly as significant as his ties outside

the country. While he is the co-owner of the Downtown Express Mart in Jonesboro, Arkansas, he

also owns two clothing stores in Jordan. He is involved in some business that causes him to travel

outside the United States extensively, and it is obvious that the Downtown Express Mart is not that

business. He has family in Jordan, including his mother, his child, and his wife, with whom he has

maintained a relationship for many years despite his cohabitation with Santana for the past year and

one-half in Arkansas. As noted, in 2002-03 he jumped bail, left the United States, and traveled to

Colombia, where Gonzalez then was living. Hasan’s connections to New York at that time were at

least as extensive as his connections to Arkansas now. His parents and his brother lived in New York

at that time, and he had lived there fore more than ten years. Those connections did not prevent him

from fleeing from the country to avoid prosecution.

        The transcripts of the telephone calls recorded while Hasan was detained in the Craighead

County Detention Center indicate that Hasan sent word to his mother, who is a co-defendant and who

is currently in Jordan, that she should not come back here. He also made arrangements for transfers

of significant amounts of money, in one instance $27,000 and in another instance $8,000. Thus,

Hasan apparently has access to significant amounts of money, despite this statement to the pretrial

services officer that his income is $1,600 per month.

        The Court has considered whether Hasan should be released on personal recognizance or an

unsecured appearance bond, and has rejected that alternative. The Court has also considered whether

Hasan should be released on conditions such as electronic monitoring, placement with a third-party


                                                   7
        Case 4:12-cr-00263-JLH           Document 41         Filed 11/01/12      Page 8 of 8




custodian, posting bail, or other conditions listed in 18 U.S.C. § 3342(c)(1)(B). Electronic

monitoring will not reasonably assure Hasan’s appearance, for it is all too easy for a sophisticated

defendant with financial resources and the ability to travel across state and national lines to slip the

electronic monitoring ankle bracelet and flee. Nor does the Court believe that posting a bond will

reasonably assure Hasan’s appearance. In light of Hasan’s foreign connections, his history of forgery

and of using false identifications, and his access to substantial sums of money (the source of which

he concealed from the pretrial services officer), the Court has concluded no condition or combination

of conditions will reasonably assure Hasan’s appearance, so he must be detained.

       Hasan’s motion to set aside the detention order entered by Magistrate Judge J. Thomas Ray

is denied. Document #32. The detention order previously entered by Judge Ray will remain in effect.

       IT IS SO ORDERED this 1st day of November, 2012.




                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE




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